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  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
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11    DAVON WESTLEY MOORE,                         Case No. 2:21-cv-08957-DOC-KES
12                   Petitioner,
13        v.                                                 JUDGMENT
14    JOHN SUTTON, Warden,
15                             Respondent.
16
17             Pursuant to the Court’s Order Dismissing Habeas Petition As Successive and
18    Declining to Issue Certificate of Appealability,
19             IT IS ADJUDGED that the Petition is dismissed without prejudice.
20
21    DATED: November 29, 2021               ____________________________________
22                                           DAVID O. CARTER
                                             UNITED STATES DISTRICT JUDGE
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